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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                    CIVIL MINUTES - GENERAL

   Case No. 2:21−cv−06156−MCS−MAA                       Date      November 2, 2021
                  THE GREEN PET SHOP ENTERPRISES, LLC V. GRAND INNOVATIONS
   Title
                 USA, LLC




   Present:         The Honorable      Mark C. Scarsi , U. S. District Judge
                 Stephen Montes Kerr                            Not Reported;
                     Deputy Clerk                           Court Reporter/Recorder

       Attorney(s) Present for Plaintiff(s):         Attorney(s) Present for Defendant(s):
                 None Present                                    None Present


  Proceedings:       (IN CHAMBERS) ORDER TO SHOW CAUSE RE: DISMISSAL
                      FOR LACK OF PROSECUTION

          Plaintiff is ordered to show cause, in writing, no later than November 9, 2021, why
    this action should not be dismissed for lack of prosecution. The Court will consider the
    filing of the following on or before the above date as an appropriate response to this
    Order to Show Cause:


           Proof of service of summons and complaint

     X Response to the complaint by the defendant or an application for entry of default
       pursuant to Federal Rule of Civil Procedure 55(a)

           Application for entry of default judgment pursuant to Federal Rule of Civil
           Procedure 55(b)


          No oral argument on this matter will be heard unless otherwise ordered by the
    Court. See Fed. R. Civ. P. 78; Local Rule 7-15. The Order will stand submitted upon
    the filing of the response to the Order to Show Cause. Failure to respond to the Order to
    Show Cause will result in the dismissal of this action.

           IT IS SO ORDERED.

                                                                    Initials of Clerk: smo


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